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                                                                                   2020 Nov-03 AM 11:18
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JENNIFER ANDERSON,                        )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )        Case No. 2:20-CV-1503-CLM
                                          )
THE FRESH MARKET, Inc.                    )
                                          )
      Defendant.                          )


                               DISMISSAL ORDER

      The court, having been advised that a settlement has been reached on

November 2, 2020, DISMISSES this case WITHOUT PREJUDICE. The court

retains jurisdiction of this action to reinstate the case if any party represents to the

court on or before January 4, 2021 that final settlement documentation could not

be completed. If the court does not hear from parties by then, the case will be

dismissed with prejudice. The parties may request additional time to file dismissal

documents if necessary.

      DONE and ORDERED this 3rd day of November, 2020.



                                        _________________________________
                                        COREY L. MAZE
                                        UNITED STATES DISTRICT JUDGE
